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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF OKLAHOMA

EVA GIVEN KOPADDY, as Personal     )
Representative for the Estate of   )
Ronald Given, Deceased             )
                                   )
     Plaintiff,                    )
                                   )
v.                                 )                    Case No. CIV-20-1280-G
                                   )
POTTAWATOMIE COUNTY                )
PUBLIC SAFETY CENTER TRUST, et al. )                    JURY TRIAL DEMANDED
                                   )
     Defendants.                   )



                                  ENTRY OF APPEARANCE

To the Clerk of this Court and all parties of record:

       Please enter my appearance as counsel in the above-styled matter for the Plaintiff, EVA

GIVEN KOPADDY, as Personal Representative for the Estate of Ronald Given, Deceased.

       I certify that I am admitted to practice in this Court and am registered in this Court’s

Electronic Case filing system to file documents electronically with this Court.

       Dated this 16th day of December, 2022.

                                       Respectfully submitted,

                                        /s/ Kevin R. Kemper
                                       Kevin R. Kemper, Esq., OBA#32968
                                       THE LAW OFFICE OF KEVIN R. KEMPER, PLLC
                                       P.O. Box 454
                                       Guthrie, OK 73044
                                       (405) 877-3043
                                       kemperlawoffice@gmail.com

                                 CERTIFICATE OF SERVICE

       I hereby certify that on or about this 16th day of December, 2022, I electronically
transmitted the attached document to the Clerk of the Court using the ECF System for filing. Based



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on the records currently on file, the Clerk of the Court will transmit a Notice of Electronic Filing
to those registered participants of the ECF System.

        I further certify that on or about this 16th day of December, 2022, I filed the attached
document with the Clerk of the Court and served the attached document by U.S. Mail, postage pre-
paid, on the following who is not a registered participant of the ECF System.

       EVA GIVEN KOPADDY
       2725 S.W. 49th St.
       Oklahoma City, OK 73119
       Plaintiff
                                                     /s/ Kevin R. Kemper
                                                     KEVIN R. KEMPER




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